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                                                Tuesday, August 9, 2022

          Via ECF

          Honorable Christine P. O’Hearn, U.S.D.J.
          Honorable Elizabeth A. Pascal, U.S.M.J.
          UNITED STATES DISTRICT COURT, DISTRICT OF NEW JERSEY
          Mitchell H. Cohen Building & U.S. Courthouse
          4th & Cooper Streets
          Camden, New Jersey 08101

                  RE: Elaine Levins and William Levins v. Healthcare Revenue Recovery Group, LLC,
                      Case No. 1:17-cv-00928-CPO-EAP

          Dear Judge O’Hearn and Judge Pascal,

          Please accept this letter as Plaintiffs’ request to stay Plaintiffs’ pending Class Certification
          Motion [D.E. 115] as well as Defendant’s pending Cross-Motion for Summary Judgment
          [D.E. 125] except to decide whether Plaintiffs have Article III standing.

                    I.   Relevant Procedural Background.

          Before the Court are Plaintiffs’ Rule 23 Class Certification Motion [D.E. 108] and Defendant’s
          Rule 56 Cross-Motion for Summary Judgment [D.E. 125]. Plaintiffs’ reply on the Rule 23
          Motion and their opposition to the Rule 56 Motion is due by August 12, 2022. [D.E. 132.]

          Preceding its argument on the merits, Defendant’s Rule 56 Motion argues Plaintiffs lack Article
          III standing. Defendant’s opposition to Plaintiffs’ Rule 23 Motion also challenges standing.

                   II.   Defendant’s Challenge to Plaintiffs’ Standing.

          On October 15, 2018, Defendant filed its Answer and challenged both jurisdiction and standing.
          [D.E. 23 at Affirmative Defenses 2, 24, and 25.] Plaintiffs did not seek to resolve those threshold
          issues because Defendant’s March 2019 discovery responses abandoned those challenges. See
          Defendant’s responses to the following Request for Production and Interrogatory:




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 Defendant never amended its discovery responses. Now, for the first time since serving those
 responses, Defendant challenges Plaintiffs’ standing. Defendant relies on Defendant relies on
 TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021) but waited more than a year before doing an
 about-face on Plaintiffs’ standing and this Court’s jurisdiction.

 Plaintiffs recognize that a party cannot consent to, waive an objection to, or be estopped from
 challenging subject matter jurisdiction. Ins. Corp. of Ir. v. Compagnie Des Bauxites De Guinee,
 456 U.S. 694, 702 (1982). Nevertheless, it is unfair for Defendant to burden Plaintiffs with
 continuing to litigate substantive issues in a forum which may lack the constitutional power to
 resolve them when Defendant could have raised, and the Court resolved, the standing and
 jurisdictional questions much earlier.

          III.   Recent Developments Concerning Standing.

 In Spokeo, Inc. v. Robins, 578 U.S. 330 (2016), the Supreme Court reaffirmed that:

     (1) a federal court may only exercise the judicial power over a case or controversy;

     (2) a case or controversy requires the plaintiff have standing;

     (3) an element of standing is that the defendant caused plaintiff to suffer an injury in fact;

     (4) an injury in fact requires a concrete harm or injury;

     (5) a concrete harm can arise from either tangible or intangible harms; and

     (6) an intangible harm is determined by considering (a) “whether an alleged intangible harm
         has a close relationship to a harm that has traditionally regarded as providing a basis for a
         lawsuit in English or American courts” and (b) Congress’s view because Congress is “well
         positioned to identify harms that meet minimum Article III requirements.” Id. at 341.

 Just as the common law provides a remedy for certain torts without proof of actual damages,
 Spokeo confirmed that the violation of a statutory right—without any additional harm—“can be
 sufficient in some circumstances to constitute injury in fact.” Id. at 342.

 Following Spokeo and in the absence of Third Circuit authority, it was widely held throughout
 this District that any violation of § 1692e of the FDCPA was an intangible harm which did not
 require allegations or proof of any additional harm. Velez-Aguilar v. Sequium Asset Sols., LLC,
 No. 2:21-cv-14046 (WJM), 2022 U.S. Dist. LEXIS 8842, at *7-8 (D.N.J. Jan. 18, 2022)
 (referring to the “overwhelming consensus in this district” and collecting cases). Plaintiffs’ claim
 arises under § 1692e.

 Ramirez may have raised the bar. Point I in Defendant’s Summary Judgment Brief points to a
 growing list of post-Ramirez decisions which conclude a statutory violation itself can never be
 sufficient to constitute an injury in fact. Decisions like Velez-Aguilar seem to be in the minority.
 Thus, Defendant challenged standing because Plaintiffs only seek statutory damages for


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 Defendant’s violation of Plaintiffs’ rights protected by the Fair Debt Collection Practices Act
 (FDCPA), 15 U.S.C. § 1692 et seq. [D.E. 125-2 at PageID 1196.]

           IV.    Prohibition Against Deciding Any Issue Until the Court Concludes that it
                  Has Subject Matter Jurisdiction.

 The Court must decide the standing question before it can resolve Plaintiffs’ Rule 23 Motion or
 the merits arguments in Defendant’s Rule 56 Motion.

 The Third Circuit explained that “‘a federal court generally may not rule on the merits of a case
 without first determining that it has jurisdiction over the category of claim in suit (subject-matter
 jurisdiction) and the parties (personal jurisdiction).’” Ellison v. Am. Bd. of Orthopaedic Surgery,
 11 F.4th 200, 204-5 (3d Cir. 2021). Indeed, any determination on the merits when a court lacks
 subject-matter jurisdiction is “void.” Steel Valley Auth. v. Union Switch & Signal Div., Am.
 Standard, Inc., 809 F.2d 1006, 1010 (3d Cir. 1987). Hence, the Supreme Court explained:

                     In the light of this overriding and time-honored concern about
                     keeping the Judiciary’s power within its proper constitutional
                     sphere, we must put aside the natural urge to proceed
                     directly to the merits of this important dispute and to
                     “settle” it for the sake of convenience and efficiency.

 Raines v. Byrd, 521 U.S. 811, 820 (1997) (emphasis added); FOCUS v. Allegheny Cty. Court of
 Common Pleas, 75 F.3d 834, 838 (3d Cir. 1996).

            V.    Conclusion

 For these reasons, Plaintiffs request that their Motion for Class Certification and Defendant’s
 Cross-Motion for Summary Judgment on the merits be stayed. Plaintiffs will file their response
 to the portion of the Cross-Motion which addresses standing by the August 12, 2022 deadline.

 I have emailed opposing counsel to secure consent to this application but have not received a
 response.

 Thank you for Your Honors’ consideration in this matter.

                                                Respectfully,
                                                s/Philip D. Stern
                                                Philip D. Stern
                                                KIM LAW FIRM LLC

 cc:      All Counsel of Record




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